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                           UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF PENNSYLVANIA


  TIMIPRE SYLVA,                                              Civil Action No.: 5:21-cv-4102-JFL

                  Plaintiff,
                                                              ORDER
                  v.

  JACKSON UDE,

                  Defendant.



        AND NOW, this 21st day of June, 2022, upon consideration of the stipulation of the parties

for a one-week extension of time for Plaintiff to file an opposition brief to Defendant’s Motion for

Summary Judgment (ECF 47, the “Motion”), and a one-week extension of time for Defendant to

file any reply thereto, IT IS HEREBY ORDERED THAT:

        Plaintiff shall have until June 29, 2022, to file an opposition brief to the Motion, and

Defendant shall have until July 13 to submit a reply brief to the opposition brief.


                                                        BY THE COURT:


                                                        /s/ Joseph F. Leeson, Jr._______ _________
                                                        JOSEPH F. LEESON, JR.
                                                        United States District Judge
